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                                UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY
                                                (973) 776-7700
             CHAMBERS OF                                                                  U.S. COURTHOUSE
      JAMES B. CLARK, III                                                             50 WALNUT ST. ROOM 2060
 UNITED STATES MAGISTRATE JUDGE                                                           NEWARK, NJ 07102




                                               December 7, 2021

                                              LETTER ORDER

       Re:      Morales v. Healthcare Revenue Recovery Group, LLC et al.
                Civil Action No. 15-8401 (ES)

       Dear Counsel,

       The Court will conduct a telephone conference with the parties in this matter on December 30,

2021 at 12:00 PM. Counsel for Plaintiff shall initiate the call. By no later than December 27, 2021, the

parties shall submit a joint letter of three (3) pages or less setting forth the background and current status

of this matter along with any issues to be discussed during the conference.


       IT IS SO ORDERED.

                                                              s/ James B. Clark, III
                                                          JAMES B. CLARK, III
                                                          United States Magistrate Judge
